 

1. CIR_."DIST..FDIV. CODE 2. PERSON REPR.ESENTED l/ VOUCHER NUMBER

TNW Case Z:OHMMHM&GMP|\/| Document 95 Filed 04/28 05 Page 1 of 2 Page|D 94

 

 

 

 

 

3. MAG. DKT./DEF. NUMBER 4. nls'r. DKT.mEF. NUMBER s. APPEALS DKT.mEF. NUMeER 6. omnn DKT. NUMBER
2:02-000153-002 2102-020480~002
1. m cAsEmAwER or icm mma s. PAYMENT cATEGoRY 9. TYPE PERSON REPRESENTE!J 10. nnrllmtsecl:rA'rloN TYPE
SE¢ l1§ l't.l Dl`\S}
U.S. v. Hogeland Felony Adult Defendant Supcrvised Release

 

11. OFFENSE(S) CHARGED (Cite U.S. Code, Title 8c Section) tr more than one olfense. list (up to tlve] major offenses charged. accordlng m severity ur offense

l) 21 846=CD.F -- CONSPIRACY TO DIS'I`RIBUTE CON'I`ROLLED SUBSTANCE

 

12. ATI'ORNEY'S NAME l-‘irst Nome, M.I., Lnsl Name, including any sum)t) 13. COURT ORDER -_j';\
AND MAlLING ADD SS 0 Appointin¢ Counse| g C Co-Counsel ,3`
IRBY, ROBERT E F S“hs Fm’ Ffd¢l"l D¢I¢l'ld" g ll Subs For Ret.ginld Auomey -

 

[] P Suhs For l’nnei Altnmey m Y Stmdby Coun.'iel,'»'/'L _

4345 E. MALLORY AVE.

MEMPHIS TN 33111 mrw»mv's~m= O-
Appointment Date: `:i:"i“ ` ‘l
i:] Because the above-named person represented lies testified under oath rier 2

otherwise satisfied this court that he or she (l) is tinaneially unable to empigy, counsel end

 

 

 

Telephone Numher:

 

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.r‘
(2) rios not wish to waive counsei, and because the interests injustice so req&rre,rhe _/;;-
. else /.,

     

 

 

- attnme . »- ~ ~ ' - l Item ll t ed to represent this persol\j)t{l'ik
14. NAME AND MAILING ADDRESS OF LAW FIRM(only provide perinstruetiom) dx ' --'_”,,
ij OthK{See tnstmrf.ions) 7 \‘;y ._r‘\ f n
451 r’ \' . 4 ~;"
SignqujQyPrsiding judm Oi‘i'lttr 0|' By Order of the Court .`;'_:. .»- . ", '
nA./')Ef?nnqlé, " 2`5 '
Date otOrder Nune Pro Tunc l)lte

Repeyment or partial repayment ordered from the person represented for this service at
lime or appointment m YES i:i NO

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CATEGORIES much immune or services with dares} CE§R|R|§D SY(M HY(I;JIIS:FFR§SH UHWSFUL§§H A'l§§{,"§}§,§,““‘
15. a. Arraignment and/or Plea
b. Bail and Detention Hearings
c. Motion Hearings
§ d. Tr'ml
C e. Sentencing Hearings
g f. Revocation Hearings
§ g. Appeals Court
h. Other (Specii`y on additional sheets)
(Rale per hour = 5 ) TOTALS:
16. a. [nterviews and Conferences
ing h. Obtaining and reviewing records
0 c. Legal research and brief writing
; d. Travel time
,‘,’ e. Investigative and Other work csp¢dry nn tenuous sham
{ (Rate per hour = $ ) ‘I`O'I`ALS:
lT. Travel Expenses (lodging, parking meals, mileage, etc.)
18. Othel' Expens$ (0lher than expert, transcripts, etc.)
19. CERTIFICA'I‘]ON OF ATTORNEYIPAYEE FOR 'I'I-IE PER|OD OF SERVICE 20. APPOINTMENT 'I'ERMINATION DATE 21. CASE DlSPOSlTION
FROM TO IF O'I'HER THAN CASE COMPLETION
22. CLA]'M S'I`ATUS |:l l-'inel Pnyment fl Interim hymen| Nurnber __ i:i Supplemema] hyment

I~llve you previously applied to the court for compensation lm'llor remlmhursement |'or this mse'.' ij YES |:I NO ll` yes, were you paid? fl YES i:i NO
Other than from the court, hlve you, or to your knowledge has anyone else, received payment (oompensation or anything or Vlilt¢] from lny other soume in connection with this
repr\s.entldon? g YES g NO ll'ys, give details on additional sheets

l swear or amrm the truth or correctness ol' the above statements.

 

 

 

 

 

 

 

sigmon or Aunm¢y= mm
23. IN COURT COMP. 24. OUI` OF COURT COMP. ?5. TRAVEL EXPENSES 26. OTI'[ER EXPENSES 17. TDTAL AMT. APFR l CERT
18. SIGNATURE OF THE PRESID]NG JUDICIAL OFFICER DATE 281. JUDGE »'MAG. }UDGE CODE
29. IN COURT COMP. 30. OUT OF COURT COMP. 31. TRAVEL EXPENSES 31 O'I'HER EXPENSES 33. TOTAL AMT. APPROVED
34. §§E'§MHI:E!HQI;E“}HER.L[FJP££&EHP"%T“ OF APPEALS (OR DELEGATE) Paym¢nt DATE 343. .[UDGE CODE

 

 

 

 

 

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with mile 55 and/or 320;)) FRch on Z ’G-\

 

 

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Honorablc J on McCalla
US DISTRICT COURT

